             IN THE DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         BRYSON CITY DIVISION

                         CRIMINAL NO. 2:02CR57-3


UNITED STATES OF AMERICA             )
                                     )
                                     )
             vs.                     )            ORDER
                                     )
JAMES LAWRENCE WILSON                )
                                         )


      THIS MATTER is before the Court on remand from the Supreme Court of

the United States with instructions to the Fourth Circuit Court of Appeals to

remand to this Court for resentencing in accordance with Booker v. United

States, 125 S. Ct. 738 (2005). See, United States v. Wilson, 2005 WL

3288020 (4 th Cir. 2005).

      IT IS, THEREFORE, ORDERED that this matter is hereby scheduled for

resentencing on WEDNESDAY, MARCH 1, 2006, AT 9:30 AM, at the U.S.

Courthouse in Asheville, North Carolina.

      IT IS FURTHER ORDERED that the Clerk appoint counsel to represent

the Defendant at resentencing. A revised presentence report is not necessary

for this hearing.




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      IT IS FURTHER ORDERED that the United States Marshal make

arrangements to have the Defendant transported from his place of incarceration

to the hearing and return him thereto after resentencing. The United States

Marshal shall ensure that the Defendant arrives in this District prior to the

hearing date in order that he may be afforded adequate opportunity to confer

with counsel in preparation for the resentencing hearing.        The Clerk of Court

is directed to send copies of this Order to the Defendant, his counsel, the

United States Attorney, the United States Marshal, and the United States

Probation Office.




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                 Signed: December 21, 2005




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